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AO 199A (Rev. 12/11) Order Setting Conditions ofRelease                                                    Page 1of   3   Pages


                                       United States District Court
                                                                   for the

                                                     District of Massachusetts



                   United States of America
                                                                       )
                                  V.
                Shelley M. Richmond Josephh                            )
                                                                                 Case No.   1:19-cr-10141-LTS


                              Defendant

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collectionof a DNAsample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrialservicesoffice or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      Thedefendant must appear at:
                                                                                        Place




      on

                                                                      Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions ofRelease                                                                                       Page 2 of 3 Pages
                                                        ADDITIONAL CONDITIONS OF RELEASE

      IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(   ) (6)         The defendant is placed in the custody of:
                  Person or organization
                  Address (only ifabove isanorganization)
                  City and state                                                                                       Tel. No.
who agrees to(a) supervise the defendant, (b) use every effort toassure the defendant's appearance atallcourt proceedings, and (c) notify the court immediately
if thedefendant violates a condition of release or is no longer in thecustodian's custody.

                                                                              Signed:
                                                                                                          Cttstodian                                       Date
(X)       (7)     The defendant must:
      ( X ) (a) submit to supervision by andreportforsupervision to the US Probation & Pretrlai Services as directed ,
                telephone number                       , no later than                                 .
      (         ) (b) continue or actively seek employment.
      (         ) (c) continue or start an education program.
      ( X ) (d) surrender any passport to:                                   The Office of Probation & Pretrial Services
      ( X ) (e) not obtain a passport or other international travel document.
      ( X ) (0 abide by the following restrictions on personalassociation, residence, or travel:                  Maintain residence and do not move without
                Prior permission. Travel is restricted to Continental United States
      ( X ) (g) avoid all contact, directly or indirectly, with any person who isor may bea victim or witness in the investigation or prosecution,
                        including: as identified by the government. (Except in the presence of Counsel).

      (         ) (h) get medical or psychiatric treatment:            ^

      (         ) (i) return to custody each                      at            o'clock after being released at                   o'clock for employment, schooling,
                        or the following purposes:

      (         ) 0) maintain residence ata halfway house orcommunity corrections center, asthe pretrial services office orsupervising officer considers
                        necessary.
      (         ) (k) not possessa firearm, destructive device,or other weapon.
      (         ) (1) not use alcohol(       ) at all (   ) excessively.
      (         ) (m) notuse or unlawfully possess a narcotic drug or other controlled substances defined in21 U.S.C. § 802, unless prescribed bya licensed
                        medical practitioner.
      (         ) (n) submit totesting fora prohibited substance ifrequired bythepretrial services office orsupervising officer. Testingmay beused with random
                      frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                        substance screening ortesting. The defendant must not obstruct, attempt toobstruct, ortamper with the efficiency and accuracy ofprohibited
                        substance screening or testing.
      (         ) (o) participate in a program of inpatient oroutpatient substance abuse therapy and counseling if directed by the pretrial services office or
                        supervising officer.
      (         ) (p) participate inoneof the following location restriction programs andcomply with its requirements as directed.
                        (    ) (i) Curfew. You are restricted toyour residence every day (           ) from                       to              , or (          ) as
                                     directed by the pretrial services office or supervisingofficer; or
                        (    ) (ii) Home Detention. You arerestricted toyour residence atalltimes except for employment; education; religious services; medical,
                                    substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                     approved in advance by the pretrialservices officeor supervising officer; or
                        (    )(iii) Home Incarceration. You are restricted to24-hour-a-day lock-down atyour residence except for medical necessities and
                                     court appearances or other activities specifically approved by the court.
      (         ) (Q) submit to location monitoring as directed by the pretrial services office orsupervising officer and comply with all ofthe program
                        requirements and instructions provided.
                        (    ) You must pay allor part of the cost ofthe program based onyour ability to pay asdetermined by the pretrial services office or
                              supervising officer.
      ( X ) (r) report as soon as possible, to the pretrial services office orsupervising officer, every contact with law enforcement personnel, including
                        arrests, questioning, or traffic stops.
      (         ) (s)
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AO 199C (Rev. 09/08) Advice of Penalties                                                                                    of         Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond,and a prosecution for contemptof court and could result in
imprisonment, a fine, or both.
      Whileon release, if you commita federal felony offensethe punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, anda $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate orattempt toretaliate against a witness, victim, or informant; or intimidate orattempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more seriousif they involve a killingor attempted killing.
       If, afterrelease, youknowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you areconvicted of:
        (1) anoffense punishable bydeath, life imprisonment, or imprisonment for a term of fifteen years or more - you will befined
            notmore than$250,000 or imprisoned for not more than 10years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will befined not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will befined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor —you will befined not more than $100,000 orimprisoned not more than one year, orboth.
       Aterm of imprisonment imposed for failure toappear orsurrender will be consecutive toany other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                 Acknowledgment of the Defendant

      Iacknowledge that Iam the defendant in this case and that Iam aware ofthe conditions ofrelease. Ipromise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware ofthe penalties and sanctions set forth above.




                                                                                       Defendant's Signature



                                                                                           CitjianaState



                                               Directions to the United States Marshal

( ^) The defendant isORDERED released after processing.
(   ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. Ifstill in custody, the defendant must b^^dwedbefore
        the appropriate judge atthe time and place specified.                                                            a*A 5.' ' •

Date:            4/25/2019
                                                                                    Judicial Officer's Signature 1 - j

                                                                                 Steve York       Deputy CledOX .t,
                                                                                       Printed name and title




                   DISTRIBUTION:       COURT    DEFENDANT       PRETRIAL SERVICE      U.S. ATTORNEY         U.S. MARSHAL
